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5    Attorney for Defendant
     MELISSA TORRES
6

7
                IN THE UNITED STATES MAGISTRATE COURT FOR THE
8
                        EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,     )         2:14 CR 097 MCE
11                                 )
               Plaintiff,          )
12                                 )         STIPULATION AND
          v.                       )         ORDER MODIFYING CONDITIONS OF
13                                 )         RELEASE
     MELISSA TORRES,               )
14                                 )
               Defendant.          )
15   ______________________________)

16
          Melissa Torres, by and through her attorney, John R. Manning,
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     Esq., and the United States of America, by and through its counsel,
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     Christiaan Highsmith, and Pretrial Services, hereby jointly agree
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     and stipulate to amend defendant’s conditions of release as follows:
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          “You shall participate in the substance abuse treatment program
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     at 611 East Bellmont Avenue, Fresno, California, and comply with all
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     the rules and regulations of the program. You shall remain at the
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     Westcare inpatient facility until released by the pretrial services
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     officer.   A responsible party, approved by Pretrial Services, shall
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     escort you to all required court hearings and escort you back to the
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     program upon completion of the hearing.”
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          Accordingly, all parties and Ms. Torres agree with the proposed
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1    modification(s) articulated herein.

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     Dated: April 7, 2014                      Respectfully submitted,
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4                                              /s/John R. Manning
                                               JOHN R. MANNING
5                                              Attorney for Defendant
                                               Melissa Torres
6

7    Dated: April 7, 2014                      Benjamin B. Wagner
                                               United States Attorney
8
                                         by:   /s/ Christiaan Highsmith
9
                                               CHRISTIANN HIGHSMITH
10                                             Assistant U.S. Attorney

11   IT IS SO ORDERED.

12
     Dated:    April 8, 2014
13                                         _____________________________________
14                                         CAROLYN K. DELANEY
                                           UNITED STATES MAGISTRATE JUDGE
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